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                                                                          5                               IN THE UNITED STATES DISTRICT COURT
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                                                                                                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                                          9   WAYMO LLC,                                                   No. C 17-00939 WHA
                                                                         10                  Plaintiff,
                                                                         11
United States District Court




                                                                                v.
                                                                                                                                           ORDER REQUIRING
                               For the Northern District of California




                                                                         12   UBER TECHNOLOGIES, INC.;                                     FURTHER RESPONSES ON
                                                                         13   OTTOMOTTO LLC; and OTTO                                      JURY INSTRUCTIONS RE
                                                                              TRUCKING LLC,                                                DAMAGES
                                                                         14                  Defendants.
                                                                         15                                               /

                                                                         16          The Court has reviewed both sides’ supplemental briefs on jury instructions regarding
                                                                         17   damages (Dkt. Nos. 2350–51). By DECEMBER 15 AT NOON, both sides shall please submit
                                                                         18   further responses to the following questions:
                                                                         19                   1.      Cite and explain all decisions wherein acquisition only
                                                                         20                   (without any use or disclosure by the defendant) was held to be
                                                                                              enough under either CUTSA or DTSA to sustain a damages award
                                                                         21                   (rather than an injunction) against that defendant. Be clear as to
                                                                                              whether such a damages award was actually rendered in such a
                                                                         22                   case.

                                                                         23                   2.      The judge can imagine scenarios wherein a trade secret
                                                                                              plaintiff might easily suffer “actual loss” even though nothing
                                                                         24                   more than acquisition was provable. For example, if a defendant
                                                                                              acquired a plaintiff’s list of employee passwords, then the plaintiff
                                                                         25                   would surely incur expense in changing them and in hiring a
                                                                                              security firm to advise on precautions to take. This out-of-pocket
                                                                         26                   actual loss would be real whether or not the defendant used or
                                                                                              disclosed the passwords. Does CUTSA or DTSA allow recovery
                                                                         27                   of such “actual loss” even in the absence of use or disclosure (or
                                                                                              unjust enrichment)? Is the recovery via the judge or the jury?
                                                                         28                   Develop fully your analysis and cite all decisions on point.
                                                                          1                   3.      Waymo shall set forth its specific offer of proof as to
                                                                                              “actual loss” (apart from unjust enrichment or reasonable royalty)
                                                                          2                   and shall quote all FRCP 26 disclosures at the initial and trial
                                                                                              stages wherein such “actual loss” damages were preserved.
                                                                          3                   Defendants shall supply all places wherein any such recovery was
                                                                                              not preserved.
                                                                          4
                                                                                              4.     To receive a reasonable royalty, CUTSA expressly requires
                                                                          5                   “use” and DTSA requires “use” or “disclosure.” What decisions
                                                                                              hold expressly to the contrary, meaning that acquisition alone is
                                                                          6                   enough for a reasonable royalty?
                                                                          7                   5.     Cite and explain all CUTSA or DTSA decisions wherein a
                                                                                              jury awarded a reasonable royalty over the objection that the issue
                                                                          8                   was for the judge to decide (and vice versa).
                                                                          9                   6.     Cite and explain all CUTSA or DTSA decisions that
                                                                                              expressly hold that only a judge can award a reasonable royalty
                                                                         10                   and those that expressly hold that the issue is for the jury.
                                                                         11                   7.     CUTSA allows a reasonable royalty only for the period of
United States District Court




                                                                                              time during which the use could have been enjoined. Since the
                               For the Northern District of California




                                                                         12                   judge decides injunction issues, why shouldn’t the judge also
                                                                                              decide the reasonable royalty issue as ancillary to equitable relief?
                                                                         13                   How can the jury determine the appropriate period of time during
                                                                                              which the use could have been enjoined?
                                                                         14
                                                                                              8.      Respond to every citation and item of analysis set forth by
                                                                         15                   the other side in the most recent supplemental briefs.
                                                                         16   The parties’ submissions shall not exceed TWELVE PAGES in length and shall quote each
                                                                         17   question in full before setting forth the response thereto. Each side shall please quote the entire
                                                                         18   paragraph of any authority it contends supports or contradicts its position and highlight the key
                                                                         19   language from within the quote. Please quote only authority that remains good law (please
                                                                         20   double check). The Court also insists that each side answer every question fully, including with
                                                                         21   any authority adverse to that side’s position.
                                                                         22
                                                                         23          IT IS SO ORDERED.
                                                                         24
                                                                         25   Dated: December 11, 2017.
                                                                                                                                        WILLIAM ALSUP
                                                                         26                                                             UNITED STATES DISTRICT JUDGE
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